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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                     EUGENE DIVISION


UNITED STATES OF AMERICA

               v.                                    INDICTMENT

JEREMY GALINDO, DANIEL DREWS,                        18 U.S.C. §§ 933(a)(l) and (3)
and JOHNATHAN WINDHURST                              18 U.S.C. § 922(g)(l)
                                                     18 u.s.c. § 922(j)

                                                     Forfeiture Allegations
                              Defendants.
                                                     UNDERSEAL



                               THE GRAND JURY CHARGES:

                                          COUNTl
                             (Conspiracy to Traffick in Firearms)
                                (18 U.S.C. §§ 933(a)(l), (a)(3))

       1.      Beginning in or about December 2023, in the District of Oregon, defendants

JEREMY GALINDO, DANIEL DREWS, and others known and unknown to the Grand Jury,

did knowingly and intentionally combine, conspire, confederate, and agree with each other to

traffick in firearms by knowingly and intentionally shipping, transporting, causing to be

transported, and otherwise disposing of one or more firearms to a recipient in or otherwise


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affecting commerce, knowing or having reasonable cause to. believe that the use, carrying, or

possession of the firearm by the recipient would constitute a felony.

                                OBJECT OF THE CONSPIRACY

           2.    It was the object of the conspiracy to unlawfully access Adult Victim 1's (AVl)

vault that contained firearms, steal those firearms, and then sell or transfer the stolen firearms to

other individuals, while knowing that the transfer of the firearms to the recipients would

constitute a felony.

                 OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

           3.   In furtherance of the conspiracy, and in order to affect the objects thereof, the co-

conspirators committed, or caused to be committed, the following overt acts in the District of

Oregon.

           4.   At some point on or after December 19, 2023, DREWS became aware that AVl 's

vault was open and accessible, as it was previously burglarized by other individuals charged in a

separate conspiracy.

           5.   DREWS told GALINDO about the vault being open and the guns left remaining

therein.

           6.    GALINDO and another unindicted co-conspirator returned to AVl 's vault in

Bandon, Oregon and stole numerous firearms.

           7.    GALINDO and DREWS returned to co-defendant Johnathan Windhurst's house

with the stolen firearms. GALINDO provided Windhurst with two firearms, loaded up the

remaining firearms into a car, and departed.

           8.    GALINDO sold one firearm obtained in the burglary to an uncharged individual

who had a felony record.
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         9.      GALINDO and others then transported and transferred a significant portion of

the stolen firearms to an individual who travelled from out of state to purchase or otherwise

obtain the firearms.

              All in violation of Title 18, United States Code, Sections 933(a)(l) and (a)(3).

                                              COUNT2
                                   (Possession of a Stolen Firearm)
                                         (18 u.s.c. § 922(j))

         On or about December 30, 2023, in the District of Oregon, defendant JEREMY

GALINDO knowingly possessed a stolen firearm, to wit: an Unbranded AR, model UAR-C,

.223 caliber rifle, which ;h.ad previously been shipped or transported in interstate or foreign

commerce, knowing and having reasonable cause to believe the firearm was stolen,

         In violation of Title 18, United States Code, Sections 922G) and 924(a)(2).

                                              COUNT3
                                   (Possession of a Stolen Firearm)
                                         (18 u.s.c. § 922(j))

         On or about December 23, 2023, in the District of Oregon, defendant DANIEL DREWS

knowingly possessed a stolen firearm, to wit: a Springfield, model Hellcat pistol,

which had previously been shipped or transported in interstate or foreign commerce, knowing

and having reasonable cause to believe the firearm was stolen,

         In violation of Title 18; United States Code, Sections 9220) and 924(a)(2).

                                              COUNT4
                                   (Possession of a Stolen Firearm)
                                         (18 u.s.c. § 922(j))

         On or about February 9, 2024, in the District of Oregon, defendant JOHNATHAN

WINDHURST knowingly possessed a stolen firearm, to wit: a Zastava, 7.62 x 39mm caliber

rifle,
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 which had previously been shipped or transported in interstate or foreign commerce, knowing

 and having reasonable cause to believe the firearm was stolen,

        In violation of Title 18, United States Code, Sections 922G) and 924(a)(2).

                                            COUNTS
                                (Felon in Possession of a Firearm)
                                      (18 U.S.C. § 922(g)(l))

         On or about February 9, 2024, in the District of Oregon, defendant JOHNATHAN

WINDHURST, knowing that he had been convicted of a crime punishable by imprisonment for

a term exceeding one year, specifically:

        a. Felon in Possession of a Weapon, on or about September 14, 2021, in the State of

            Oregon, Coos County Case Number 21CR35733; and

        b. Identity Theft, on or about May 12, 2016, in the State of Oregon, Coos County Case

            Number l 6CR07723,

did knowingly and unlawfully possess a firearm, to wit: a Zastava, 7.62 x 39mm caliber rifle,

which had previously been transported in interstate or foreign commerce,

        In violation of Title 18, United States Code, Section 922(g)(l ).

                             FIRST FORFEITURE ALLEGATION

        Upon conviction of one or more of the offenses alleged in Count 1 of this Indictment,

defendants DANIEL DREWS and JEREMY GALINDO shall forfeit to the United States

pursuant to 18 U.S.C. § 934(a)(l)(A) and (B), any property constituting, or derived from,

proceeds obtained, directly or indirectly, as a result of the aforesaid violations and any property

. used, or intended to be used, in any manner or part, to commit, or to facilitate the commission of

 said violation.

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                           SECOND FORFEITURE ALLEGATION

       Upon conviction of one or more of the offenses alleged in Count 2 of this Indictment,

defendant JEREMY GALINDO shall forfeit to the United States pursuant to 18 U.S.C. § 924(d)

and 28 U.S.C. § 2461(c), all firearms and ammunition involved in or used in the commission of

the offense, including but not limited to the following: an Unbranded AR, model UAR-C, .223

caliber rifle, with associated ammunition and accessories.

                            THIRD FORFEITURE ALLEGATION

       Upon conviction of one or more of the offenses alleged in Count 3 of this Indictment,

defendant DANIEL DREWS shall forfeit to the United States pursuant to 18 U .S.C. § 924(d)

and 28 U.S.C. § 2461(c), all firearms and ammunition involved in or used in the commission of

the offense, including but not limited to the following: A Springfield, model Hellcat pistol, with

associated ammunition and accessories.

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                          FOURTH FORFEITURE ALLEGATION

       Upon conviction of one or more of the offenses alleged in Counts 4 or 5 ofthis

Indictment, defendant JOHNATHAN WINDHURST shall forfeit to the United States pursuant

to 18 U.S.C. § 924(d) and 28 U.S.C. § 246l(c), all firearms and ammunition involved in or used

in the commission of the offense, including but not limited to the following: a Zastava, 7.62 x

39mm caliber rifle, with associated ammunition and accessories.

       Dated: February 20, 2025.


                                                     A TRUE BILL.



                                                     M!CIATIN(JFOREPERSON
Presented by:




GAVIN W. BRUCE, OSB# 113384
Assistant United States Attorney




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